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 3   Telephone: (916) 447-8262
 4   Attorney for Defendant: CHRIS M. EVANS
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )       Crim. S-02-287 FCD
                                                   )
12                                    Plaintiff,   )
                                                   )       STIPULATION
13                       v.                        )          AND
                                                   )      ORDER THEREON
14   CHRIS M. EVANS,                               )
                                                   )
15                                  Defendants     )
                                                   )
16
                                        FACTUAL PREMISE
17
           The defendant herein, Chris McKinney Evans, has completed the custodial
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     portion of the sentence imposed by this court in the above captioned matter, and is
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     currently fulfilling his term of supervised release. Mr. Evans has no financial
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     component to this supervision and has been in complete compliance since the
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     implementation of the term. As part of his plea agreement the government agreed to
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     recommend that the sentence in this case be concurrent to a sentence which had
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     previously been imposed in Virginia. In that case the period of supervised release
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     was 24 months and in this case it was 36 months. The defendant did not object to this
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     difference.
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           After approximately one year of supervision, the defendant, through his
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     counsel, was approached by the FBI in the Central District of California about
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 1   providing information regarding a company now under investigation for fraud in that
 2   district. Although under no obligation to do so, the defendant agreed that he would
 3   cooperate by providing valuable information about certain transactions conducted by
 4   the principals of the above-mentioned company. In return, the United States
 5   Attorney’s Office for the Central District of California offered to inform this court
 6   about any cooperation provided by the defendant. The United States Attorney’s
 7   Office for the Eastern District of California represented that it would consider
 8   recommending a one year reduction in defendant’s term of supervised release in the
 9   above captioned case if the United States Attorney’s Office for the Central District of
10   California found that the defendant provided substantial assistance to the government
11   and that his information was deemed to be truthful. Several weeks ago defendant was
12   interviewed by Assistant United States Attorney Matthew Sloan from the United
13   States Attorney’s Office in Los Angeles, and agents from the FBI and the IRS.
14   Assistant United States Attorney Sloan has informed the United States Attorney’s
15   Office for this district that defendant provided valuable assistance in his investigation
16   and that AUSA Sloan believes, based on all available evidence, that defendant’s
17   information was truthful and credible.
18         While counsel in the underlying case was appointed under the provisions of the
19   Criminal Justice Act, the fees associated with this matter have been paid by the
20   defendant. Based on the foregoing,
21         IT IS HEREBY STIPULATED between counsel for the defendant and the
22   Office of the United States Attorney for the Eastern District of California that the
23   defendant, Chris McKinney Evans’ term of supervised release in the above-
24   referenced case may be modified from 36 months to 24 months concurrent to the
25   supervised release imposed by the United States District Court in Virginia.
26   (Signatures and Order on Following Page)
27
28
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 1   Dated: December 13, 2005                       Dated: December 13, 2005
 2
     / s / Steven D. Bauer                          / s / Christine Watson
 3
     STEVEN D. BAUER                                CHRISTINE WATSON
 4   Attorney For Defendant                         Assistant United States Attorney
 5
     For Good Cause Appearing
 6   IT IS SO ORDERED
     December 15, 2005
 7
 8
     /s/ Frank C. Damrell Jr.
 9
     FRANK C. DAMRELL, JR.
10   U.S. District Judge
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